                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI

AXIS SURPLUS INSURANCE COMPANY,                  )
                                                 )
       Plaintiff,                                )   Case No. 4:22-cv-00328
                                                 )
vs.                                              )
                                                 )
TRISTAR COMPANIES, LLC,                          )
                                                 )
       Defendant.                                )

                    MOTION FOR LEAVE TO AMEND COUNTERCLAIM

       Defendant TriStar Companies, LLC (“Tristar”), by and through the undersigned counsel,

files its Motion to Amend Counterclaim to Axis Surplus Insurance Company’s (“Axis”)

Complaint, and states as follows:

       1.        This action was filed on March 31, 2022 involving an insurance coverage dispute

related to an underlying lawsuit filed against TriStar arising out of an alleged wrongful death

occurring on December 10, 2021 as a result of a tornado that struck an Amazon warehouse in

Edwardsville, Illinois.    Axis’ Complaint alleges no insurance coverage for the underlying

lawsuit. In response, TriStar filed a Counterclaim on April 15, 2022 seeking a declaratory

judgment that coverage was available for the underlying lawsuit and also seeking breach of

contract to recover damages for Axis’ failure to provide coverage and defend TriStar.

       2.        The Court entered its Case Management Order on June 16, 2022, which, among

other things, states that all motions for the amendment of pleadings shall be filed no later than

July 15, 2022.

       3.        Since the filing of the Counterclaim, TriStar has been named a defendant in two

additional lawsuits arising from the same accident at the Amazon warehouse on December 10,
2021. Furthermore, TriStar has been provided notice of two additional threatened claims arising

out of the same accident.

       4.       TriStar seeks leave to amend its Counterclaim to allege coverage for additional

lawsuits and claims arising out of the same accident giving rise to the original claim for

coverage.

       5.       This motion is being brought within the time limits provided in the Case

Management Order and will not result in prejudice to any party.

       6.       TriStar files a Memorandum of Law contemporaneously herewith and also

attached hereto as Exhibit 1 its proposed Amended Answer, Affirmative Defenses, and

Counterclaim.     TriStar’s Answer and Affirmative Defenses to Axis’ Complaint remains

unchanged.

       WHEREFORE, TriStar Companies, LLC respectfully requests that the Court enter its

Order granting it leave to file the Amended Answer, Affirmative Defenses, and Counterclaim.



                                            Respectfully submitted,

                                            BLITZ, BARDGETT & DEUTSCH, LC

                                            By:    /s/ Christopher O. Bauman
                                                   Robert D. Blitz, #24387MO
                                                   Christopher O. Bauman, #52480MO
                                                   120 S. Central Ave., Ste. 1500
                                                   St. Louis, MO 63105
                                                   Telephone: (314) 863-1500
                                                   Facsimile: (314) 863-1877
                                                   Email: rblitz@bbdlc.com
                                                   Email: cbauman@bbdlc.com

                                            Attorneys for TriStar Companies, LLC




                                               2
                               CERTIFICATE OF SERVICE

       The undersigned certifies that on July 15, 2022, the foregoing was served via the Court’s

CM/ECF system on all counsel of record.

                                            /s/ Christopher O. Bauman




                                               3
